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                           UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION


    MATTHEW LAROSIERE,

                       Plaintiff,

    v.                                            Case No: 6:24-cv-1629-WWB-LHP

    CODY RUTLEDGE WILSON,
    DEFCAD, INC., DEFENSE
    DISTRIBUTED and DIOSKOUROI
    LLC,

                       Defendants




                                          ORDER
          This cause came on for consideration without oral argument on the following

    motion filed herein:

          MOTION: UNOPPOSED MOTION FOR SPECIAL ADMISSION
                  BY DAVID S. GINGRAS, ESQ. (Doc. No. 14)

          FILED:       October 8, 2024



          THEREON it is ORDERED that the motion is GRANTED.

          David S. Gingras, Esq., may specially appear in this case as counsel for

    Defendants. Attorney Gingras shall immediately begin using the CM/ECF docket

    system and begin filing electronically. Counsel must register for a CM/ECF login
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    and password through the website at www.flmd.uscourts.gov under “CM/ECF.”

    Once registered for CM/ECF and added as counsel of record in this case, counsel

    will receive the Notification of Electronic Filing [NEF] on all documents.

          The Clerk of Court is directed to mail a copy of this Order to Attorney

    Gingras. Thereafter, the Clerk of Court shall not mail copies of documents filed in

    this case as counsel of record will receive such documents electronically through

    CM/ECF.

          DONE and ORDERED in Orlando, Florida on October 15, 2024.




    Copies furnished to:

    Counsel of Record
    Unrepresented Parties




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